Case: 4:19-cv-02581-SEP Doc. #: 1 Filed: 09/16/19 Page: 1 of 7 PageID #: 1




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION


 Robert Bohner,
                                                    Case No. ____________________
                                   Plaintiff,
                                                            COMPLAINT
 v.                                                   (JURY TRIAL DEMANDED)

 Union Pacific Railroad Co.,

                                 Defendant.


                                        PARTIES

       1.      Plaintiff Robert Bohner is an individual who, during the events giving rise

to his claims herein, resided and worked for Defendant Union Pacific in Purdy, Missouri.

       2.      Union Pacific is a railroad carrier engaged in interstate commerce. It

operates trains throughout Missouri, and is headquartered in Omaha, Nebraska.

                            JURISDICTION AND VENUE

       3.      This Court has subject-matter jurisdiction under 28 U.S.C. § 1331.

       4.      This Court has personal jurisdiction over Union Pacific because Union

Pacific maintains a significant business presence within Missouri, and Union Pacific’s acts

and omissions giving rise to Bohner’s claim occurred in Missouri.

       5.      Venue is proper in this division pursuant to 28 U.S.C. § 1391 because the

substantial part of the events or omissions giving rise to Bohner’s claims occurred here.

                               FACTUAL ALLEGATIONS

       6.      Bohner was hired by Union Pacific in 1994.

       7.      Bohner suffers from Lyme disease.



                                                1
Case: 4:19-cv-02581-SEP Doc. #: 1 Filed: 09/16/19 Page: 2 of 7 PageID #: 2




        8.      Bohner suffer from arthritis.

        9.      Bohner’s Lyme disease is a physical impairment that substantially

limits his ability to care for himself, perform manual tasks, see, hear, eat, sleep, walk, stand,

lift, bend, speak, breathe, learn, read, concentrate, think, communicate, and/or work.

        10.     Bohner’s arthritis is a physical impairment that substantially limits his

ability to care for himself, perform manual tasks, see, hear, eat, sleep, walk, stand, lift,

bend, speak, breathe, learn, read, concentrate, think, communicate, and/or work.

        11.     On May 29, 2018, a supervisor removed Bohner from service, stating that

he observed Bohner out of breath.

        12.     The supervisor resided in this divison

        13.     Thereafter, Bohner was examined by his doctor, who found Bohner could

perform his job’s essential functions.

        14.     Union Pacific refused to reinstate Bohner, instead requiring him to pay for

and take a cardiac test.

        15.     Despite passing the cardiac test, Union Pacific continued to refuse to return

Bohner to work, claiming that he now also needed to undergo a field examination.

        16.     On July 19, 2018, two managers, two Union Reps and a signal maintainer

performed such examination.

        17.     While the union representative saw that Bohner passed, the managers

claimed that Bohner was unable to bend and squat, and therefore failed him and said he

could not return to work.

        18.     The managers perceived Bohner as suffering from a physical

impairment that substantially limits his ability to care for himself, perform manual tasks,



                                                2
Case: 4:19-cv-02581-SEP Doc. #: 1 Filed: 09/16/19 Page: 3 of 7 PageID #: 3




see, hear, eat, sleep, walk, stand, lift, bend, speak, breathe, learn, read, concentrate, think,

communicate, and/or work; and used such perception as their basis to refuse to reinstate

him.

                                  CAUSES OF ACTION

                                COUNT I
           DISABILITY DISCRIMINATION, IN VIOLATION OF THE ADA

        19.     Section 12112(a) of the ADA prohibits employers from discriminating

against a qualified individual on the basis of disability in regard to job application

procedures, the hiring, advancement, or discharge of employees, employee compensation,

job training, and other terms, conditions, and privileges of employment.

        20.     At all relevant times, Bohner was an individual with a disability under the

ADA.

        21.     Bohner is a qualified individual under the ADA.

        22.     Union Pacific has discriminated against Bohner on the basis of disability

when it removed him from service, forced him to pay for testing, and withheld him from

service.

        23.     Because Union Pacific violated 42 U.S.C. § 12112, Bohner has suffered and

will continue to suffer loss of income, emotional distress, and other damages in an amount

to be determined by the trier of fact. Bohner is also entitled to attorneys’ fees and costs

incurred in connection with these claims.

        24.     Union Pacific committed the above-alleged acts with reckless or deliberate

disregard for Bohner’s rights. As a result, Bohner is entitled to punitive damages.

                             COUNT II
           FAILURE TO ACCOMODATE, IN VIOLATION OF THE ADA

        25.     At all relevant times, Bohner was an individual with a disability under the
                                               3
Case: 4:19-cv-02581-SEP Doc. #: 1 Filed: 09/16/19 Page: 4 of 7 PageID #: 4




ADA.

       26.     Union Pacific was aware of Bohner’s disability.

       27.     Discriminating against a qualified individual with a disability includes:

       [N]ot making reasonable accommodations to the known physical or mental
       limitations of an otherwise qualified individual with a disability who is an
       applicant or employee, unless such covered entity can demonstrate that the
       accommodation would impose an undue hardship on the operation of the
       business of such covered entity[.]
42 U.S.C. § 12112(b)(5)(A).

       28.     If Union Pacific believed that Bohner’s disability prevented him from

performing any essential function of his job, it had a duty to explore whether a reasonable

accommodation existed that would allow Bohner to perform the essential functions of his

job.

       29.     Union Pacific failed to engage with Bohner in the interactive process, and

failed to offer reasonable accommodation to Bohner.

       30.     Because Union Pacific violated 42 U.S.C. § 12112, Bohner has suffered and

will continue to suffer loss of income, emotional distress, and other damages in an amount

to be determined by the trier of fact. Bohner is also entitled to attorneys’ fees and costs

incurred in connection with these claims.

       31.     Union Pacific committed the above-alleged acts with reckless disregard or

deliberate disregard for Bohner’s rights and safety. As a result, Bohner is entitled to

punitive damages.

                          COUNT III
  IMPERMISSIBLE MEDICAL EXAMINTION, IN VIOLATION OF THE ADA

       32.     At all relevant times, Bohner was an individual with a disability under the

ADA.


                                             4
Case: 4:19-cv-02581-SEP Doc. #: 1 Filed: 09/16/19 Page: 5 of 7 PageID #: 5




       33.       Section 12112(d)(1) of the ADA defines “discriminat[ing] against a

qualified individual on the basis of disability” as including certain medical examinations

and inquiries.

       34.       Section 12112(d)(4) of the ADA prohibits employers from “requir[ing] a

medical examination and [from]. . . mak[ing] inquiries of an employee as to whether such

employee is an individual with a disability or as to the nature or severity of the disability,

unless such examination or inquiry is shown to be job-related and consistent with business

necessity”

       35.       Union Pacific discriminated against Bohner on the basis of disability by

making inquiry into Bohner’s medical records, in violation of 42 U.S.C. § 12112(d)(4).

       36.       Because Union Pacific violated 42 U.S.C. § 12112, Bohner has suffered and

will continue to suffer loss of income, emotional distress, and other damages in an amount

to be determined by the trier of fact. Bohner is also entitled to attorneys’ fees and costs

incurred in connection with these claims.

       37.       Union Pacific committed the above-alleged acts with reckless disregard or

deliberate disregard for Bohner’s rights and safety. As a result, Bohner is entitled to

punitive damages.

                                  PRAYER FOR RELIEF

       WHEREFORE, Bohner prays for judgment against Union Pacific as follows:

       38.       That the practices of Union Pacific complained of herein be determined and

adjudged to constitute violations of the ADA;

       39.       For an injunction against Union Pacific and its directors, officers, owners,

agents, successors, employees and representatives, and any and all persons acting in



                                              5
Case: 4:19-cv-02581-SEP Doc. #: 1 Filed: 09/16/19 Page: 6 of 7 PageID #: 6




concert with them, from engaging in each of the unlawful practices, policies, customs, and

usages set forth herein;

          40.    For an award of damages arising from loss of past and future income,

emotional distress, and other compensatory damages in an amount to be determined by the

trier of fact;

          41.    For an award of pre-judgment interest, as provided by law;

          42.    For an award of Bohner’s costs, disbursements and attorneys’ fees pursuant

to law;

          43.    For all relief available under the ADA;

          44.    For such other and further relief available by statute; and

          45.    For such other and further relief as the Court deems just and equitable.



Dated: September 16, 2019


                                                GROVES POWERS, LLC

                                                /s/Steven L. Groves
                                                Steven L. Groves, #40837
                                                One US Bank Plaza
                                                505 N. 7th Street, Suite 2010
                                                St. Louis, MO 63101
                                                (314)696-2300
                                                (314)696-2304 fax
                                                sgroves@grovespowers.com




                                               6
Case: 4:19-cv-02581-SEP Doc. #: 1 Filed: 09/16/19 Page: 7 of 7 PageID #: 7




                                     THE MOODY LAW FIRM

                                     s/ Nicholas D. Thompson
                                     Nicholas D. Thompson
                                     (pro hac admission pending)
                                     nthompson@moodyrrlaw.com
                                     500 Crawford Street, Suite 200
                                     Portsmouth, VA 23704
                                     (757) 673-9161 Work
                                     (757) 477-0991 Cell
                                     (757) 397-7257 Fax

                                     ATTORNEYS FOR PLAINTIFF




                                    7
